Case 4:21-cv-02155-YGR   Document 93-2   Filed 10/01/21   Page 1 of 27




             EXHIBIT A
                 Case
// Protocol version:    4:21-cv-02155-YGR
                     v.199                                                                       Document 93-2               Filed 10/01/21   Page 2 of 27
// Copyright 2021 Google Inc. All Rights Reserved.

import "google/protobuf/struct.proto";

// This is the message that Google uses to request bids. A BidRequest
// includes the ad slot from a single impression.
II
message BidRequest {
   // Unique request id generated by Google. This is 16 bytes long.
   required bytes id= 2;

  // - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - -
  // This section lists information that we know about the user.

  // The first 3 bytes of the IP address in network byte order for IPv4, or the
  // first 6 bytes for IPv6. Note that the number and position of the bytes
  // included from IPv6 addresses may change later.
  optional bytes ip = 4;

  // Reasons for special treatment of user data (google_user_id,
  // hosted_match_data, IDFA, etc).
  enum UserDataTreatment {
    // The current request should be treated as child-directed for purposes of
    // the Children's Online Privacy Protection Act. See
    // https://support.google.com/admanager/answer/4442399 for more information.
    TAG_FOR_CHILD_DIRECTED_TREATMENT = 0;
  }

  // When user data treatment is set, the user's cookie/id data is cleared from
  // the request and is not sent in callout.
  // The impacted fields are:
  // "' googleuserid
  // "'hosted_match_data
  II • mobile.encrypted_advertising_ id
  II * mobile.encrypted hashed idfa
  II * session id
  repeated UserDataTreatment user_data_treatment = 49;

  // The Google ID for the user. This field is the unpadded web-safe base64
  // encoded version of a binary cookie id. See the "Base 64 Encoding with URL
  // and Filename Safe Alphabet" section in RFC 3548 for encoding details. This
  // field may be the same as the Google ID returned by the cookie matching
  // service. Not set if there is one or more user data treatment value.
  optional string google_user_id = 21;

  // The version number of the google_user_id. We may sometimes change the
  // mapping from cookie to google_user id. In this case the version will be
  // incremented.
  optional uint32 cookie version= 20;

  // The time in seconds since the google_user_id was created.
  // This number may be quantized.
  optional int32 cookie_age_seconds = 31;

  // Match data stored for this google_user_id through the cookie matching
  // service. If a match exists, then this field holds the decoded data that
  // was passed in the google __ hm parameter.
  // Not set if there is one or more user data treatment value.
  optional bytes hosted_match_data = 37;

  // Beta feature. Represents a short-lived user session on CTV/OTT devices,
  // with a maximum session duration of 6 hours.
  // The use of session_id is never allowed for ads personalization.
  // session_id may only be used for frequency capping, competitive exclusions
  // or related purposes. Please contact your account manager if you would like
  // to enable this feature.
  optional string session_id = 65;

  // A string that identifies the browser and type of device that sent the
  // request. Certain data may be redacted or replaced.
  optional string user_agent = 6;

  message Floe {
   // The value of a cohort ID §€ a string identifier that is common to a large
                                                                0



   // cohort of users with similar browsing habits.
   optional string id= l;

      // The type of the FLoC. See
      // https://github.com/google/ads-privacy/blob/master/proposals/FLoC/FLOC-Whitepaper-Google.pdf.
      enum FlocType {
         // Default value that should not be used.
         FLOC TYPE UNKNOWN= 0;

                                                                                                                                                  GOOG-HEWT-00001335
        II FLoC simulated using affinity hierarchical clustering with centroids
                    Case
        II and feature      4:21-cv-02155-YGR Document 93-2 Filed 10/01/21
                         extraction based on Topic categories as described in the
                                                                                                  Page 3 of 27
        I I whitepape r.
        SIMULATED AFFINITY CLUSTERING CENTROID VERTICAL = 2;
        II FLoC simulated using SortingLSH clustering algorithm and Domain One-hot
        II encoding feature extraction as described in the whitepaper.
        SIMULATED_SIMHASH_SORTING_LSH_DOMAIN_ONE_HOT = 3;
        II FLoC simulated using a k Random Centers locality-sensitive hash
        II function as described in
        II https:llgithub.comlgooglelads-privacylbloblmasterlproposalslFLoClk-random-centers.md
        II with Domain TF-IDF feature extraction as described in the whitepaper.
        KCENTER_DOM_FILTERED_TFDIF = 4;
    }
    optional FlocType type= 2;
}
II Cohort ID that is common to a large cohort of users with similar
II browsing habits. Currently the cohort ID is simulated by the exchange
II (as opposed to by the browser). When simulated
II cohort ID is provided, traditional pseudonymous cookie-based user
II identifiers or device advertising identifiers would not be populated.
II Experimental feature; may be subject to change. See
II https:llgithub.comlWICGlfloc for more background on FLoC.
optional Floe floe= 68;

II User Agent information. This will be populated with information about the
II user agent, extracted from the User-Agent header or from Sec-CH-UA headers
II (https:llwicg.github.iolua-client-hintsl).
message UserAgent {
  II A tuple of (brand, version) for the user agent or platform.
 message BrandVersion {
    II Brand identifier, e.g., "Chrome" or "Windows".
    optional string brand= l;
    II Version, split in components if needed, e.g., {"85", "l"}       v85.l.
    repeated string version= 2;
    }
    II Identifies the browser.
    optional BrandVersion browser= l;
    II Identifies the platform.
    optional BrandVersion platform= 2;
    II True if the agent prefers "mobile-optimized" content. Refer to the
    II BidRequest.device field for specific information about the device, which
    II may or may not be consistent with this field (for example, a smartphone's
    II browser can be requesting "Desktop site").
    optional bool mobile= 3;
    II Device architecture.
    optional string architecture   4;
    II Device model.
    optional string model= 5;
}

II User Agent information.
optional UserAgent user_agent_data = 63;

II The billing address country of the publisher. This may be different from
II the detected country of the user in geo_criteria_id or the hosting country
II of the website. For a complete list of country codes, please refer to
II https:lldevelopers.google.comlgoogle-adslapilreferenceldatalcodes-formats#country_codes
optional string publisher_country       55;

II Location of the end user. Uses a subset of the codes used in the Google
II Ads API. See the geo-table.csv table in the technical documentation for a
II list of IDs. The geo_criteria_id field replaces the deprecated country,
II region, city, and metro fields.
optional int32 geo_criteria_id = 39;

II The user's approximate geographic location. All location information is
II IP geolocation-derived. The latllon fields may be a reference position
II (e.g. centroid) for the IP geolocation-derived location that's also carried
II by the other fields (e.g. a city), and accuracy will be the radius of a
II circle with the approximate area of that location. Location and its
II accuracy will be fuzzified as necessary to protect user privacy.
message Geo {
 optional double lat= l;

    II Longitude from -180.0 to +180.0, where negative is west.
    optional double lon = 2;

    II Country using ISO-3166-1 Alpha-3.
    optional string country= 3;

    II Region code using ISO-3166-2; 2-letter state code if USA.
    optional string region= 4;



                                                                                                      GOOG-HEWT-00001336
    // Google metro code; similar to but not exactly Nielsen DMAs.
                 Case 4:21-cv-02155-YGR Document 93-2
    optional string metro= 6;
                                                                                                                  Filed 10/01/21   Page 4 of 27

    // City using United Nations Code for Trade & Transport Locations.
    // (https://www.unece.org/cefact/locode/service/location.htm).
    optional string city= 7;

    // Zip/postal code.
    optional string zip               8;

    // Estimated location accuracy in meters.
    optional int32 accuracy= 11;

    // Local time as the number+/- of minutes from UTC.
    optional int32 utcoffset = 10;
}
optional Geo geo              62;

// Detected postal code of the appropriate type for the country of the end
// user (e.g., zip code if the country is "US"). The postal_code_prefix field
// is set when accuracy is too low to imply a full code, otherwise the
// postal_code field is set.
optional string postal_code = 33;
optional string postal_code_prefix = 34;

// A hyperlocal targeting location when available.
II
message Hyperlocal {
   // A location on the Earth's surface.
   II
   message Point {
      optional float latitude= l;
      optional float longitude= 2;
    }

    // The mobile device can be at any point inside the geofence polygon defined
    // by a list of corners. Currently, the polygon is always a parallelogram
    // with 4 corners.
    repeated Point corners= l;
}

message HyperlocalSet {
 // This field currently contains at most one hyperlocal polygon.
  repeated Hyperlocal hyperlocal = l;

    // The approximate geometric center of the geofence area. It is calculated
    // exclusively based on the geometric shape of the geofence area and in no
    // way indicates the mobile device's actual location within the geofence
    // area. If multiple hyperlocal polygons are specified above then
    // center_point is the geometric center of all hyperlocal polygons.
    optional Hyperlocal.Point center_point = 2;
}

// Hyperlocal targeting signal when available, encrypted as described at
// https://developers.google.com/authorized-buyers/rtb/response-guide/decrypt-hyperlocal
optional bytes encrypted_hyperlocal_set = 40;
// Unencrypted version of encrypted_hyperlocal_set. This field is only set
// when using an SSL connection.
optional HyperlocalSet hyperlocal_set = 53;

// The offset of the user's time from GMT in minutes. For example, GMT+l0 is
// timezone_offset = 600.
optional int32 timezone_offset = 25;

// List of detected user verticals. Currently unused.
repeated int32 user_vertical = 30 [packed= true];

// This field is not populated by default. We recommend that bidders instead
// store and look up list ids using either google_user_id or hosted_match_data
// as keys.
II
message UserList {
   // The user list id.
   optional int64 id= 1;

    // The time in seconds since the user was added to the list.
    optional int32 age_seconds = 2;
}
repeated UserList user_list = 32;

// - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - -
// This section lists information that we know about the web page or mobile
// application where the impression originates.


                                                                                                                                       GOOG-HEWT-00001337
II The publisherCase  4:21-cv-02155-YGR Document 93-2 Filed 10/01/21
                 ID as defined by the publisher code suffix of
                                                                                         Page 5 of 27
II the web property code. For instance, "pub-123" is the publisher code of web
II property code "ca-pub-123" (ca- is the product specific prefix of the web
I I property).
optional string publisher _id= 56;

II The seller network id. See seller-network-ids.txt file in the technical
II documentation for a list of ids. This is only set if the site is not
II anonymous and the publisher allows site targeting.
optional int32 seller_network_id = 41;

II Id for the partner that provides this inventory. This is only set when
I I seller network id is also set and further partner information beyond the
II seller network id is also available. The value of the partner_id is not
II meaningful beyond providing a stable identifier.
optional fixed64 partner_id = 52;

II The URL of the page with parameters removed. This is only set if the site
II is not anonymous and the publisher allows site targeting. You can use
II anonymous_id for targeting if the inventory is anonymous. Otherwise, use
II detected_vertical's. Only one of url or anonymous_id is ever set in the
II same request. This always starts with a protocol (either http or https).
optional string url = 11;

II Indicates that the request is using semi-transparent branding,
II which means only a truncated version of the request URL will
II be provided. This decision is made by the publisher, see
II https:llsupport.google.comladmanagerlanswerl4584891#urls for context.
optional bool is_semi_transparent_request = 67;

II An id for the domain of the page. This is set when the inventory is
II anonymous. Only one of url or anonymous id is ever set in the same
I I request.
optional string anonymous_id = 19;

II Detected user languages, based on the language of the web page, the browser
II settings, and other signals. The order is arbitrary. The codes are 2 or 5
II characters and are documented at
II https:lldevelopers.google.comlgoogle-adslapilreferenceldatalcodes-formats#languages
repeated string detected_language = 12;

II One or more detected verticals for the page as determined by Google.
II
message Vertical {
  II The vertical id. See the publisher-verticals.txt file in the technical
  II documentation for a list of ids.
  required int32 id= 1;

    II Weight for this vertical, in the (0.0, 1.0] range. More relevant
    II verticals have higher weights.
    required float weight= 2;
}

II Unordered list of detected content verticals. See the
II publisher-verticals.txt file in the technical documentation for a list of
II ids.
repeated Vertical detected vertical= 13;

II List of detected content labels. See content-labels.txt file in the
II technical documentation for a list of ids.
repeated int32 detected_content_label = 26 [packed= true];

II This represents a unique ID for the overall query. In the event
II that there are multiple callouts for a query, all callout requests for that
II query will contain the same google_query_id.
optional st ring googleque ryid = 59;

II The type of auction that will be run for this query.
enum AuctionType {
  UNKNOWN_AUCTION_TYPE = 0;
   FIRST_PRICE = 1;
  SECOND_PRICE = 2;
   FIXED_PRICE = 3;
}
optional AuctionType auction type     60 [default   SECOND PRICE];

II Information about the device.
message Device {
  II The type of device on which the ad will be shown.
  enum DeviceType {
     UNKNOWN_DEVICE = 0;
     HIGHEND_PHONE = 1;


                                                                                             GOOG-HEWT-00001338
        TABLET= 2;
                     Case 4:21-cv-02155-YGR          Document 93-2         Filed 10/01/21   Page 6 of 27
        // Desktop or laptop devices.
        PERSONAL COMPUTER= 3;

        // Both connected TVs (that is, smart TVs) and connected devices
        // (such as Roku and Apple TV).
        CONNECTED TV   4;

        GAME CONSOLE   5;

        SET TOP BOX= 6;

    }
    optional DeviceType device_type = 1 [default= UNKNOWN_DEVICE];

    // The platform of the device. Examples: android, iphone, palm
    optional string platform= 2 [default=""];

    // The brand of the device, e.g., Nokia, Samsung.
    optional string brand= 3 [default=""];

    // The model of the device, e.g., N70, Galaxy.
    optional string model= 4 [default=""];

    // Contains the OS version of the platform. For instance, for And raid 2,
    // major=2, minor=0. For iPhone 3.3.l, major=3 and minor=3.
    message OsVersion {
      optional int32 major   l [default    -1];
      optional int32 minor   2 [default    -1];
      optional int32 micro   3 [default    -1];
    }
    // The OS version; e.g., 2 for Android 2.1, or 3.3 for iOS 3.3.1.
    optional OsVersion os_version = 5;

    // Unique identifier for the mobile carrier if the device is connected to
    // the internet via a carrier (as opposed to via WiFi). To look up carrier
    // name from carrier ID, please refer to:
    // https://storage.googleapis.com/adx-rtb-dictionaries/mobile-carriers.csv.
    optional int64 carrier_id = 6 [default= 0];

    // The width of the device screen in pixels.
    optional int32 screen_width = 7 [default= 0];

    // The height of the device screen in pixels.
    optional int32 screen_height = 8 [default= 0];

    // Used for high-density devices (e.g., iOS retina displays). A non-default
    // value indicates that the nominal screen size (with pixels as the unit)
    // does not describe the actual number of pixels in the screen. For example,
    // nominal width and height may be 320x640 for a screen that actually has
    // 640x1280 pixels, in which case screen_width=320, screen_height=640, and
    // screen_pixel_ratio_millis=2000, since each axis has twice as many pixels
    // as its dimensions would indicate.
    optional int32 screen_pixel_ ratio millis = 9 [default= 0];

    enum ScreenOrientation {
       UNKNOWN ORIENTATION= 0;
       PORTRAIT = 1;
       LANDSCAPE= 2;
    }
    // The screen orientation of the device when the ad request is sent.
    optional ScreenOrientation screen_orientation = 10
        [default= UNKNOWN_ORIENTATION];

    // Apple iOS device model, e.g., "iphone 5s", "iphone 6+", "ipad 4".
    optional string hardware_version = 11;

}
optional Device device= 54;

// Additional key-value attributes. Currently unused.
message KeyValue {
  optional string key= 1;
  optional string value= 2;
}
repeated KeyValue key_value = 38;

// Information for ad queries coming from mobile devices. A mobile device is
// either a smartphone or a tablet. This is present for ad queries both from
// mobile devices browsing the web and from mobile apps.
message Mobile {
  // If true, then this request is from a mobile application. For branded


                                                                                                GOOG-HEWT-00001339
II requests, app_id will also be filled in. If the request is from a mobile
             Case 4:21-cv-02155-YGR
II web page contained  inside an app, is_app willDocument    93-2but app_id
                                                  still be false,    Filed 10/01/21      Page 7 of 27
II could be filled in with the app identifier. is_app may also be true for
II anonymous inventory, in which case anonymous_id will be set. For SDK-less
II requests (mostly from connected TVs), this will be true if an app ID is
II provided directly in the request.
optional bool is_app = 7 [default= false];

II The identifier of the mobile app when this ad query comes from a mobile
II app, or from a mobile web page contained inside an app. If the app was
II downloaded from the Apple iTunes app store, then this is the app-store
II id, e.g., 343200656. For Android devices, this is the fully qualified
II package name, e.g., com. rovio.angrybirds. For Windows devices it's the
II App ID, e.g., f15abcde-f6gh-47i0-j3k8-37l93817mn3o. For SDK-less requests
II (mostly from connected TVs), the app ID provided by the publisher
II directly in the request.
optional string app_id = 6;

II If true, then this is a mobile full screen ad request.
optional bool is_interstitial_request = 10 [default= false];

II This field contains the IDs of categories to which the current mobile app
II belongs. This field will be empty if is_app is false. The mapping between
II mobile apps and categories is defined by the Google Play Store for
II Android apps, or the Apple iTunes Store for iOS apps. To look up category
II name from category ID, please refer to
II https:lldevelopers.google.comlgoogle-adslapilreferenceldatalcodes-formats#mobile_app_categories
repeated int32 app_category_ids = 11;

II For a mobile web request, this field indicates whether the page is
II optimized for mobile browsers on high-end mobile phones.
optional bool is mobileweboptimized = 17 [default = false];

II This field is used for advertising identifiers for
II 1) iOS devices (This is called Identifier for Advertising, or IDFA, as
II described at https:llsupport.google.comlauthorizedbuyerslanswerl3221407),
II 2) Android devices,
II 3) Roku devices,
II 4) Microsoft Xbox devices,
II 5) Amazon devices (i.e. Amazon Fire).
II
II When the encrypted_advertising_id is an IDFA, the plaintext after
II decrypting the ciphertext is the IDFA (16 byte UUID) returned by iOS's
II [ASidentifierManager advertisingidentifier]. For encrypted_hashed_idfa,
II the plaintext is the 16 byte MD5 hash of the IDFA. Only one of the two
II fields will be available, depending on the version of the SDK making the
II request. Later SDKs provide unhashed values. They are not set if there is
II one or more user_data_treatment value in the BidRequest.
optional bytes encrypted_advertising_id = 20;

II Unencrypted version of encrypted_advertising_id. This field is only set
II when using an SSL connection. This field is a 16 byte UUID (binary form)
II or a 32 byte alphanumeric id (such as Samsung ID).
optional bytes advertising_id = 27;

optional bytes encrypted_hashed_idfa = 21;

II Unencrypted version of encrypted_hashed idfa. This field is only set
II when using an SSL connection. This field is a 16 byte MD5.
optional bytes hashed_idfa = 28;

II App names for Android apps are from the Google Play store.
II App names for iOS apps are provided by App Annie
II (https:llwww.appannie.com). App names for SDK-less requests (mostly from
II connected TVs) are provided by the publisher directly in the request.
optional string app_name = 24;

II Average user rating for the app. The range of user rating is between 1.0
II and 5.0. Currently only available for apps in Google Play store.
optional float app_rating = 25;

II Identification of and information about an SDK installed in the
II publisher's app that the bidder has access to, often because it's the
II bidder's SDK.
message InstalledSdk {
  II Identifier for the installed SDK.
  optional string id= l;

  II Semantic version of the installed SDK and the adapter that communicates
  II between the installed SDK and Google's SDK.
  message Version {
   optional int32 major       1 [default   -1];
   optional int32 minor       2 [default   -1];



                                                                                               GOOG-HEWT-00001340
            optional int32 micro3 [default -1];
        }
                     Case 4:21-cv-02155-YGR          Document 93-2            Filed 10/01/21   Page 8 of 27

        II The version of the installed SDK.
        optional Version sdk_version = 2;

        II The version of the adapter that communicates with the installed SDK.
        optional Version adapter_version = 3;
    }
    repeated InstalledSdk installed_sdk = 32;

    II Publisher's SKAdNetwork information to support app installation
    II attribution for iOS 14 and later. Apple's SKAdNetwork API helps
    II advertisers measure ad-driven app installation by sending a postback
    II to the ad network after a successful install. Publishers will need
    II to configure supported ad networks in their app's property list
    II (Info.plist) to allow an install to be attributed to the ad impression.
    II For more info visit:
    II https:lldeveloper.apple.comldocumentationlstorekitlskadnetwork
    message SKAdNetworkRequest {
      II Version of SKAdNetwork supported. Dependent on both the OS version
      II and the SDK version.
      optional string version= 1;

        II ID of publisher app in Apple§€™s App Store.
        optional string sourceapp = 2;

        II SKAdNetworkidentifier entries in the publisher app's Info.plist.
        repeated string skadnetids = 3;
    }

    optional SKAdNetworkRequest skadn     34;

}
optional Mobile mobile= 28;

II Information about the video if this is an in-video ad request.
II
message Video {
  II Describes where the video ad will play.
 enum Placement {
    UNKNOWN PLACEMENT= 0;

        II Instream means the ad plays before, during, or after other video
        II content. This is similar to a traditional TV commercial. The video
        II content the user is watching does not play while the ad is playing.
        INSTREAM = l;

        II Interstitial means the video ad plays in front of non-video content,
        II (e.g., a news article or video game). The ad covers all or nearly all
        II of the space on the screen occupied by the content and the user is not
        II able to proceed to the content until the ad has finished or been
        II skipped.
        INTERSTITIAL= 2;

        II The in-feed video format is a video creative that shows within a feed
        II of content, typically a social app feed, a list of editorial content
        II items, etc, as the user is scrolling. It renders centered and not to
        II the side.
        INFEED = 3;

        II Audio is a request for an ad that is an audio stream. It is distinct
        II from INSTREAM above as that is exclusive to video requests.
        AUDIO = 4;

        II The in-article video format is a video creative that loads and plays
        II between paragraphs of editorial content as a standalone video player.
        IN_ARTICLE = 5;
    }
    optional Placement placement = 16 [default = UNKNOWNPLACEMENT];

    II The URL of the page that the publisher gives Google to describe the video
    II content, with parameters removed.
    optional string description_url = 10;

    II If true, the video is embedded on a page outside the publisher's domain.
    II When this is set, description_url points to a description of the video
    II (as it always does), and the url field in BidRequest is the page in which
    II the video is embedded. For example, a request for an in-stream ad in a
    II Vimeo video shared on Facebook has is embedded offsite set. The url field
    II is for a Facebook page and the description_url points to the video on
    II Vimeo.
    optional bool is_embedded_offsite = 11 [default= false];


                                                                                                   GOOG-HEWT-00001341
             Case 4:21-cv-02155-YGR            Document 93-2
// Describes how the video ad will be played. The playback method is
                                                                     Filed 10/01/21   Page 9 of 27
// determined to be auto-play, click-to-play or mouse-over based on the best
// measurement available. This includes things like how recently the user
// interacted with a web page. For auto-play, ads can start playing with the
// sound on or off. Some ads (e.g., in-feed ads) are muted until the user
// interacts with the ad. Alternatively, if an ad would normally play with
// the sound on but the device is muted then the value will be set to sound
// off. For devices where it is not possible to determine if the device is
// muted (e.g., desktop), we assume that sound is on.
enum VideoPlaybackMethod {
  METHOD_UNKNOWN = 0;
  AUTO_PLAY_SOUND_ON = l;
  AUTO PLAY SOUND OFF= 2;
   CLICK_TO_PLAY = 3;
  MOUSE_OVER = 4;
   INITIATE_ON_ENTERING_VIEWPORT_SOUND_ON = 5;
   INITIATE ON ENTERING_VIEWPORT_SOUND_OFF = 6;
}
optional VideoPlaybackMethod playback_method   14
    [default= METHOD_UNKNOWN];

// Whether the inventory allows clicking on the video ad to take the user to
// an advertiser site. Some platforms, notably connected TVs, do not
// support clicking on video ads, in which case this field is set to false.
optional bool is_clickable = 15;

// The time in milliseconds from the start of the video when the ad will be
// displayed. 0 means pre-roll and -1 means post-roll. The value is valid
// only if this param is set. When not set, the display position is unknown.
optional int32 videoad_start_delay = l;

// The maximum duration in milliseconds of the ad that you should return.
// If this is not set or has value<= 0, any duration is allowed.
optional int32 max ad duration= 2;

// The minimum duration in milliseconds of the ad that you should return.
// If this is not set or has value<= 0, there is no minimum duration.
optional int32 min ad duration= 8;

// The maximum number of ads in an Adx video pod. A non-zero value indicates
// that the current ad slot is a video pod that can show multiple video
// ads. Actual number of video ads shown can be less than or equal to this
// value but cannot exceed it.
optional int32 max_ads in pod= 12;

// Does the publisher allow/require/block skippable video ads?
enum SkippableBidRequestType {
  ALLOW SKIPPABLE = 0;
   REQUIRE_SKIPPABLE = l;
   BLOCK SKIPPABLE = 2;
}
optional SkippableBidRequestType video ad skippable    4
    [default= ALLOW_SKIPPABLE];

// The maximum duration in milliseconds for the ad you should return, if
// this ad is skippable (this generally differs from the maximum duration
// allowed for non-skippable ads). If this is not set or has value<= 0, any
// duration is allowed.
optional int32 skippablemax ad du ration = 5;

// Supported video protocols.
enum VideoProtocol {
   UNKNOWN_VIDEO_PROTOCOL = 0;
  VAST 1 0    1;
  VAST 2 0 = 2;
  VAST 3 0 = 3;
  VAST 1 0 WRAPPER    4;
  VAST 2 0 WRAPPER    5;
  VAST 3 0 WRAPPER    6;
  VAST_4_0 = 7;
  VAST 4 0 WRAPPER    8;
   DAAST_l_0 = 9;
   DAAST_l_0_WRAPPER = 10;
}
// Array of supported video bid response protocols.
repeated VideoProtocol protocols= 17 [packed= true];

// The video file formats that are allowed for this request. The response
// should support at least one of them.
enum VideoFormat {
   UNKNOWN_VIDEO_FORMAT = -1;
  VIDEO_FLV = 0; // Flash video files are accepted (FLV).


                                                                                          GOOG-HEWT-00001342
    VIDEO MP4    1;
    YT HOSTED
               Case
                 2;
                       4:21-cv-02155-YGR           Document
                        II Valid VAST ads with at least        93-2 Filed 10/01/21
                                                        one media file hosted
                                                                                     Page 10 of 27
                        II on youtube.com.
    VPAID FLASH= 3; II Flash VPAID (SWF).
    VPAID _JS = 4;      II JavaScript VPAID.
    AUDIO MP3 = 5;
    AUDIO_OGG = 6;
    AUDIO MP3 OGG= 7; II Requires both MP3 & OGG as Google does not know
                          II which codecs are installed on the player.
    VIDEO_WEBM = 8;
    VIDEO_MOV = 9;
    VIDEO_3GPP = 10;
    VIDEO_HLS = 11;
    VIDEO DASH     12;
    AUDIO_MP4A = 13; II Audio version of MP4.
}
repeated VideoFormat allowed video formats= 6;

II Information about the companion ad slots that can be shown with the
II video. While this is a repeated field there will only be one value in
II most cases. If there are no companion ads available this field will not
I I be set.
II
message CompanionSlot {
  II These fields represent the available heights and widths in this slot.
  II There will always be the same number heights and widths fields.
  repeated int32 height= 1 [packed= true];
  repeated int32 width= 2 [packed= true];

    II These are the formats of the creatives allowed in this companion ad
    II slot.
    enum CreativeFormat {
      UNKNOWN CREATIVE FORMAT     -1;
       IMAGE CREATIVE = 0;
       FLASH_CREATIVE = l;
      HTML_CREATIVE = 2;
    }
    repeated CreativeFormat creative format= 3;
}
repeated CompanionSlot companion_slot = 7;

II End cap support. When enabled, the companion ad can be picked to be
II rendered as an end cap (info card) in the video slot after the video
II ad finishes playing. If multiple companion ads are returned, IMA SDK
II chooses one which best matches the device screen size. End cap is
II supported only on mobile video interstitial inventory.
enum EndCapSupport {
   END_CAP_NOT_ENABLED = 0;     II Companion ad won't be rendered as end cap.
   END CAP OPTIONAL= 1;         II End cap will be rendered if response contains
                                II eligible companion banner, but companion
                                II banner is not required.
    II Not used at this time.
    END CAP FORBIDDEN= 2; II Response with companion ad is filtered.
    II Not used at this time.
    END_CAP_REQUIRED = 3; II Response without companion ad is filtered.
}
optional EndCapSupport end cap support= 13 [default        END CAP NOT_ENABLED];

II Attributes of the video that the user is viewing, not the video ad.
II These fields are based on the availability of the video metadata from the
II video publisher and may not always be populated.
II
message ContentAttributes {
  II The title of the video.
  optional string title= l;

    II The duration of the video, in seconds.
    optional int32 duration_seconds = 2;

    II A list of keywords describing the video, extracted from the content
    II management system of the video publisher. There will be no more than 10
    II keywords in this list.
    repeated string keywords= 3;
}
optional ContentAttributes content attributes= 9;

II The type of inventory from which request is sent.
II Deprecated but will continue to be filled in until January 2017.
II Use the placement field to determine if inventory is interstitial or
II instream. Use Device.device_type to determine if the request comes from
II a mobile device and Mobile.is_app to determine if the request comes from
II an app.

                                                                                          GOOG-HEWT-00001343
    I I WEB VIDEO is INSTREAM placements from web browsers.
                    Case 4:21-cv-02155-YGR Document 93-2 Filed 10/01/21
    // GAMES consists of INTERSTITIAL placements from both apps and web
                                                                                                                           Page 11 of 27
    I I browse rs .
    // MOBILE_INTERSTITIAL is INTERSTITIAL placements from apps only.
    // This inventory also allows display ads. You can tell if an adslot allows
    // display ads if adslot->excluded_attributes does not contain 21
    // (CreativeType: Html)
    // MOBILE_APP_VIDEO is INSTREAM placement from apps only.
    enum InventoryType {
       WEB_VIDEO = 0;
       GAMES = 1;
       MOBILE INTERSTITIAL   2;
       MOBILE_APP_VIDEO = 3;
    }
    optional InventoryType DEPRECATED inventory_type                                3
        [default= WEB_VIDEO, deprecated= true];

    // Identify whether or not the ad request is being served from a live video
    // stream (0 = is not live, 1 = is live).
    II
    optional bool is livestream   18 [ default  false];
}
optional Video video= 29;

// The publisher settings list id that applies to this page.
//Seethe RTB Publisher Settings guide at
// https://developers.google.com/authorized-buyers/rtb/pub-settings-guide
I I for details.
optional fixed64 publisher_settings_list_id = 42;

// Publisher type of the inventory where the ad will be shown. For a given
// request, publisher inventory can be either owned and operated (O&O),
// represented by the publisher, or of unknown status.
enum PublisherType {
  UNKNOWN_PUBLISHER_TYPE = 0;
   PUBLISHER_OWNED_AND_OPERATED = l;
   PUBLISHERREPRESENTED = 2;
  DEPRECATED_GOOGLE_REPRESENTED = 3 [deprecated= true];
}
optional PublisherType publisher_type = 51 [default= UNKNOWN PUBLISHER_TYPE];

enum VisibilityState {
  VISIBILITY_STATE_UNKNOWN = 0;
  // The page is at least partially visible. For example, in the foreground
  // tab of a non-minimized window.
  VISIBILITY_STATE_VISIBLE = l;
  // The page is not visible to users. For example, when the page is in a
  // background browser tab, or in a minimized window.
  VISIBILITY_STATE_HIDDEN = 2;
}
// The visibility state of the web page containing the ad slots.
// See https://www.w3.org/TR/page-visibility/.
optional VisibilityState page_visibility = 66
    [default= VISIBILITY_STATE_UNKNOWN];

// - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - -
// Information about the adslots on the page.
message AdSlot {
  // An arbitrarily assigned slot id that is unique on a given page and
  // usually starts counting from 1. You use this to identify which slot to
  // bid on in the BidResponse.
  required int32 id= l;

    // A stable identifier for the combination of publisher, ad slot, and page.
    optional uint64 ad_block_key = 14;

    // Set of channels of which this ad slot is a member. A channel is a set of
    // ad slots on a site. You can target a channel (like "the sports section",
    // or "all top banners") to get more fine-grained control over where your ad
    // shows. Channel names are provided by the publisher.
    repeated string targetable_channel = 10;

    // The width and height in pixels of the allowed ad sizes. Most requests
    // allow only a single size, but some allow more than one. Widths and
    // heights are at the same index. For example, if the width values are
    // [728, 300, 468] and the height values are [90, 250, 60], then the allowed
    // formats are 728x90, 300x250, and 468x60.
    II
    // For VAST video ad requests a single width/height pair specifies the
    // Google-detected video player size. If Google cannot detect the player
    // size the publisher-provided player size, if available, is used. For
    // VAST video ads, this size is informational; there is no restriction on
    // the size of the video ad that you can return.


                                                                                                                                GOOG-HEWT-00001344
II
II For mobileCase  4:21-cv-02155-YGR Document 93-2 Filed 10/01/21
              interstitial ads (including ones where video ads are eligible)
                                                                                Page 12 of 27
II the first width height pair is the slot size (this is also the video
II player size for VAST video ads). For many interstitials, this is the
II screen size. Subsequent pairs are recommended interstitial ad sizes that
II also meet the requirements for this interstitial.
repeated int32 width= 2;
repeated int32 height= 3;

message FlexibleAdSlotSettings {
  optional int32 max_width = 1;
  optional int32 max_height = 2;
  optional int32 min_width = 3;
  optional int32 min_height = 4;
}
II If the adslot is flexible, this contains settings on how the slot
II may be resized.
optional FlexibleAdSlotSettings flexible_adslot_settings = 50;

II The disallowed attribute ids for the ads that can show in this slot. See
II the publisher-excludable-creative-attributes.txt file in the technical
II documentation for a list of ids.
repeated int32 excluded_attribute = 4 [packed= true];

II The allowed vendor types. See the vendors.txt file in the technical
II documentation for a list of ids. This field does not apply to deals with
II block overrides (see
II https:llsupport.google.comlauthorizedbuyerslanswerl6114194).
repeated int32 a llowedvendo rtype     6 [packed = true] ;

message ConsentedProvidersSettings {
  II Set of IDs corresponding to ad tech providers (ATPs) for whom the
  II publisher has specified to Google that its EEA users have given legally
  II valid consent to: 1) the use of cookies or other local storage where
  II legally required; and 2) the collection, sharing, and use of personal
  II data for personalization of ads by an ATP in accordance with Google§€™s
  II EU User Consent Policy.
    II
    II If a publisher is using the IAB Transparency and Consent Framework
    II (TCF) v2 to manage user consent, this is the set of ATPs consented via
    II the Additional Consent string (see
    II https:llsupport.google.comladmanagerlanswerl9681920 for details about
    II Google's Additional Consent mode). ATPs consented via the TCF v2
    II consent string are represented in the
    II ConsentedProvidersSettings.tcf_consent_string field.
    II
    II A mapping of ATP ID to ATP name is posted at providers.csv.
    repeated int64 consented_providers = 2 [packed= true];

    II The web-safe base64-encoded IAB Transparency and Consent Framework
    II (TCF) v2 consent string fetched from the publisher's IAB Consent
    II Management Platform (CMP). The structure of the string is defined by
    II the IAB TCF v2. This field will be populated if the publisher has
    II integrated with a CMP for TCF v2 and that CMP indicates that GDPR
    II applies to this ad request and provides a valid consent string. See
    II https:llsupport.google.comlauthorizedbuyerslanswerl9789378 for
    II additional information about the Google TCF v2 integration.
    II
    II See the IAB Global Vendor List at
    II https:llvendorlist.consensu.orglv21vendor-list.json for details about
    II the vendors listed in the consent string.
    optional string tcf_consent_string = 3;
}
II Information about the ad tech providers for whom the publisher has
II specified to Google that its EEA user has consented to the use of their
II personal data for ads personalization in accordance with Google's EU User
II Consent Policy. This field will only be populated when regs_gdpr is true.
optional ConsentedProvidersSettings consented_providers_settings = 42;

II This field will be set to true in either of the two following cases:
II 1. Google receives a valid IAB Transparency and Consent Framework (TCF)
II      v2 consent string and the Consent Management Platform indicates that
II      GDPR applies to this ad request.
II 2. Google does not receive an IAB TCF v2 consent string and, based on
II      information available to Google, this impression will serve to an
II      EEA user.
II It does not constitute legal guidance on GDPR. This field is equivalent
II to Regs.ext.gdpr in Google OpenRTB.
optional bool regs_gdpr = 43;

II This field will be set to true when, based on information available to
II Google, this impression will serve to a user in Brazil. See
II https:llstorage.googleapis.comladx-rtb-dictionariesllgpd-providers.csv

                                                                                     GOOG-HEWT-00001345
II for the list of ad tech providers that are allowed to
             Case 4:21-cv-02155-YGR
II serve on LGPD-enforced  requests.
                                               Document 93-2 Filed 10/01/21               Page 13 of 27
II
II See https:llsupport.google.comlauthorizedbuyerslanswerl9928204 for more
II information on LGPD.
optional bool regs_lgpd = 54;

II The disallowed sensitive ad categories. See the
II ad-sensitive-categories.txt file in the technical documentation for a
II list of ids. You should enforce these exclusions if you have the ability
II to classify ads into the listed categories. This field does not apply to
II deals with block overrides (see
II https:llsupport.google.comlauthorizedbuyerslanswerl6114194).
repeated int32 excluded_sensitive_category = 7 [packed= true];

II The allowed restricted ad categories for private and open auctions. See
II the ad-restricted-categories.txt file in the technical documentation for
II a list of ids. These only apply for private and open auction bids. See
I I the allowed_restricted_category ___ for_deals field for preferred deals or
II programmatic guarantees. If you bid with an ad in a restricted category,
II you MUST ALWAYS declare the category in the bid response regardless of
II the values in this field.
repeated int32 allowed_restricted_category = 16 [packed= true];

II The allowed restricted ad categories for preferred deals or programmatic
II guarantees. See the ad-restricted-categories.txt file in the technical
II documentation for a list of ids. These only apply for preferred deals or
II programmatic guarantees. See the allowed_restricted_category field for
II private and open auctions. In some cases, restricted categories are only
II allowed on preferred deals or programmatic guarantees, so this field
II lists all categories in allowed_restricted_category, and additionally,
II restricted categories that are only allowed for preferred deals or
II programmatic guarantees. If you bid with an ad in a restricted category,
II you MUST ALWAYS declare the category in the bid response regardless of
II the values in this field.
repeated int32 allowed_restricted_category_for_deals = 22 [packed= true];

II List of creative languages allowed by the publisher. The order is
II arbitrary. The codes are 2 or 5 characters and are documented at
II https:lldevelopers.google.comlgoogle-adslapilreferenceldatalcodes-formats#languages.
II When not set, all languages are allowed.
repeated st ring al lowed ___ languages = 27;

II The disallowed ad product categories. See the ad-product-categories.txt
II file in the technical documentation for a list of ids. You should enforce
II these exclusions if you have the ability to classify ads into the listed
II categories. This field does not apply to deals with block overrides (see
II https:llsupport.google.comlauthorizedbuyerslanswerl6114194).
repeated int32 excluded_product_category = 13 [packed= true];

II A creative that is disallowed to bid on this impression due to Ad
II Exchange policies or creative disapproval, excluded creative attributes,
II excluded product or sensitive categories, allowed vendor types,
II restricted categories or languages applicable to the bid request.
message ExcludedCreative {
  II Buyer creative ID of the disallowed creative.
  optional string buyer___ creative_id = l;
}

II Creatives that are disallowed for the impression. Submitting a bid with
II one of the creatives in this list will result in such bid being filtered
II before the auction. Please contact your account manager if you would like
II to enable this feature.
repeated ExcludedCreative excluded_creatives = 18;

II Whether the adslot is only eligible for deals bids. Bids for the open
II auction will be filtered when this field is set to true. Bidders can bid
II on the open auction or deals when this field is set to false.
optional bool only_deal_bids_accepted = 49;

II Information about the pre-targeting configs that matched.
II
message MatchingAdData {
  II The billing ids corresponding to the pretargeting configs that matched.
  repeated int64 billing_id = 2 [packed   false];

    II The minimum CPM value that you can bid to not be filtered before the
    II auction. This may be a global minimum, or it may be a minimum set by
    II the publisher. The value is in micros of the bidding currency.
    II The bidding currency is determined by:
    II 1. The bidder-level currency, if configured.
    II 2. Otherwise, the currency of the buyer accounts indicated by the
    II billing IDs in the billing_id field.

                                                                                               GOOG-HEWT-00001346
optional int64 minimum_cpm_micros
                                5;
            Case 4:21-cv-02155-YGR            Document 93-2         Filed 10/01/21   Page 14 of 27
II Information about any deals that matched for this inventory.
II
message DirectDeal {
  II An id identifying the deal.
 optional int64 direct_deal_id = 1;

  I I For deal type=PREFERREDDEAL or deal type=PROGRAMMATICGUARANTEED,
  II you must bid at least fixed_cpm_micros (in micros of the bidding
  II currency) in order to participate in the deal. If you win, you will
  II be charged fixed_cpm_micros. For deal_type=PRIVATE_AUCTION or
  II deal_type=AUCTION_PACKAGE you must bid at least fixed_cpm_micros.
  II Bidding higher CPM than fixed_cpm_micros will increase your chance
  II to win when deal_type=PRIVATE_AUCTION or deal_type=AUCTION_PACKAGE,
  II however it will not increase your chance to win for other types of
  II deals.
  II The bidding currency is determined by:
  II 1. The bidder-level currency, if configured.
  II 2. Otherwise, the currency of the buyer accounts indicated by the
  II billing IDs in the billing_id field.
 optional int64 fixedcpm micros = 2;

  II The type of the deal. Note that Authorized Buyers policy overrides
  II apply to all Programmatic Guaranteed and Preferred Deal bids, and do
  II not apply to bids for other deal types.
 enum DealType {
    UNKNOWN_DEAL_TYPE = 0;

      II Bids are fixed-price and evaluated before the Open Auction. Bidders
      II are not required to bid with Preferred Deals when they are present
      II on the bid request. See
      II https:llsupport.google.comlauthorizedbuyerslanswerl2604595 for more
      I I information.
      PREFERRED_DEAL = 1;

      II Bids participate in a Private Auction against a select list of
      II buyers with specific floors. See
      II https:llsupport.google.comlauthorizedbuyerslanswerl2839853 for more
      I I information.
      PRIVATE_AUCTION = 2;

      II Bids are fixed-price and evaluated before the Open Auction. Bidders
      II are expected to bid with Programmatic Guaranteed deals whenever
      II they are present on a bid request in order to ensure that the
      II number of impressions agreed upon for a given deal are served. See
      II https:llsupport.google.comlauthorizedbuyerslanswerl7174589 for more
      I I information.
      PROGRAMMATIC_GUARANTEED = 3;

      II The deal ID is an identifier for a collection of Open Auction
      II inventory matching a given set of targeting criteria. See
      II https:llsupport.google.comlauthorizedbuyerslanswerl7516884 for more
      I I information.
      AUCTION PACKAGE= 4;
  }
 optional DealType deal type = 3 [default = UNKNOWNDEALTYPE];

 II Whether the publisher has exempted this deal from configured blocks.
 II This setting does not override AdX policies or Ad Review Center
 II decisions.
 optional bool publisher_blocks_overridden = 4 [default= false];

 II Experimental field; subject to change.
 II An enum declaring the host of the creative, which will only be
 II populated for Programmatic Guaranteed deals.
 II Currently, this field should only ever be set to
 II CREATIVE_SOURCE_ADVERTISER.
 enum CreativeSourceType {
    CREATIVE SOURCE UNKNOWN= 0;
    II The creative is hosted by the advertiser, which means the bidder
    II is required to provide a creative in the bid response.
    CREATIVE_SOURCE_ADVERTISER = 1;
   II The creative is hosted by the publisher, which means the bidder
   II does not need to include a creative in the bid response.
    II For more information on publisher-hosted creatives, see
   II https:llsupport.google.comladmanagerlanswerl9243220.
    II This feature isn't currently supported for RTB bidders.
    CREATIVE_SOURCE_PUBLISHER = 2;
  }
 optional CreativeSourceType creative source      16
     [default= CREATIVE_SOURCE_ADVERTISER];



                                                                                          GOOG-HEWT-0000134 7
        II This field is only applicable to Programmatic Guaranteed deals. The
        II buyer Case   4:21-cv-02155-YGR Document 93-2 Filed 10/01/21
                 is allowed to skip bidding on the impression if this field is
                                                                                   Page 15 of 27
        II false. When it is true, the buyer is required to bid on this deal for
        II this impression opportunity.
        optional bool must_bid = 9 [default= true];
    }
    repeated DirectDeal direct deal= 6;

}
repeated MatchingAdData matching_ad_data = 9;

II The publisher settings list ids that apply to this slot. See the RTB
II Publisher Settings guide at
II https:lldevelopers.google.comlauthorized-buyerslrtblpub-settings-guide
I I for details.
repeated fixed64 publisher_settings_list_id = 15;

II Parameters related to exchange bidding (third party exchanges doing
II real-time bidding on DFP). This is never populated in calls to AdX
II real-time bidders.
II
message ExchangeBidding {
  II UTFS strings optionally provided by the publisher as part of their
  II matching yield group configurations in the DFP UI. The format is
  II arbitrary and should be agreed upon by the publisher and the exchange
  I I bidder.
  repeated string publisher_parameter = 1;

    II Repeated KeyValue pairs to be sent from the publisher to the
    II exchange bidder.
    repeated KeyValue key_value = 3;
}
optional ExchangeBidding exchange_bidding      28;

II Parameters related to Open Bidding.
message OpenBidding {
  II This field is set to true if the publisher set up a yield group or a
  II mediation group that targets this adslot and this bidder. See
  II https:llsupport.google.comladmanagerlanswerl7128453 for information on
  II Open Bidding and its effects on the bidding process.
  optional bool is_open_bidding = 2;
}
optional OpenBidding open_bidding = 53;

II The ad unit code (https:llsupport.google.comladmanagerltopicl4426071)
II This is currently only set for exchange bidding requests.
optional string dfp_ad_unit_code = 33;

II Visibility information for the slot.
enum SlotVisibility {
   NO DETECTION= 0;
  ABOVE THE FOLD    l;
   BELOW THE FOLD= 2;
}
optional SlotVisibility slot_visibility = 12 [default= NO_DETECTION];

II Viewability percentage for the ad slot. This is an estimate of the
II likelihood that this slot will be viewable by the end user based on
II historical and environment data. It is expressed as a percentage in the
II range of [0, 100]. The default value -1 indicates that viewability could
II not be estimated.
optional int32 viewability = 21 [default      -1];

II Historical click-through rate for ads served in the ad slot. This is
II expressed as a fraction in the range [0.0, 1.0]. The default value of
II -1.0 indicates that historical click-through rate data is not available.
II This figure does not include data aggregated from Google Ads.
optional float click_through_rate = 25 [default= -1.0];

II Historical completion rate for video ads served in the ad slot. This is
II expressed as a fraction in the range [0.0, 1.0]. The default value of
II -1.0 indicates that historical completion rate data is not available.
II This field is only applicable to video inventory, and does not include
II data aggregated from Google Ads.
optional float video_completion_rate = 30 [default= -1.0];

II iFraming state of the ad slot on the webpage where it is present.
enum IFramingState {
   UNKNOWN !FRAME STATE   0;
   NOIFRAME = 1;
  SAME_DOMAIN_IFRAME = 2;
   CROSS_DOMAIN_IFRAME = 3;
}



                                                                                        GOOG-HEWT-00001348
optional IFramingState i framingstate = 19 [default = UNKNOWN !FRAME STATE];
               Case 4:21-cv-02155-YGR               Document 93-2      Filed 10/01/21   Page 16 of 27
II iFrame depth of the ad slot on the webpage where it is present.
II Currently only set for video ad requests.
enum IFramingDepth {
   UNKNOWN IFRAME DEPTH= 0;
   NOT IN IFRAME = l;
   ONE_IFRAME = 2;
  MULTIPLE IFRAME = 3;
}
optional IFramingDepth iframing_depth = 20 [default= UNKNOWN_IFRAME_DEPTH];

II A native ad consists of pieces that are rendered by the publisher. A
II publisher may support multiple distinct native ad templates. If the
II request also allows banners or videos, you can respond with other
II types of ads by setting html_snippet or video_url instead. If only
II native templates exist, you must set the native_ad field in any
II response you send.
II
message NativeAdTemplate {
  II Defines the bits used in required_fields and recommended_fields. There
  II is one bit for each of the fields in BidResponse.Ad.NativeAd
  enum Fields {
     NO FIELDS= 0x0;
    HEADLINE = 0xl;
     BODY= 0x2;
    CALL TO ACTION= 0x4;
    ADVERTISER= 0x8;
     IMAGE= 0xl0;
     LOGO= 0x20;
    APP_ICON = 0x40;
    STARRATING = 0x80;
     PRICE= 0x100;
    DEPRECATED STORE= 0x200;
    VIDEO = 0x400;
    }

    II Bitfield describing which fields are required by the publisher. Bid
    II responses with no value for these fields will be rejected. Click and
    II view tracking urls are always implicitly required.
    optional int64 required_fields = l;

    II Bitfield describing which fields are recommended by the publisher. All
    II recommended fields are supported, but not all recommended fields are
    II required.
    optional int64 recommended_fields = 2;

    II max_safe_length indicates the maximum number of Unicode characters that
    II are guaranteed to be shown without truncation. Longer strings may be
    II truncated and ellipsized by Ad Exchange or the publisher during
    I I rendering.
    optional int32 headline max_safe_length = 3;
    optional int32 body_max_safe_length = 4;
    optional int32 call_to_action_max_safe_length        5;
    optional int32 advertise r___ max_safe_length = 6;
    optional int32 price_max_safe_length = 15;

    II The width and height from which to calculate the required aspect ratio.
    II You can provide a larger image in the response. Images that have aspect
    II ratios substantially different than those implied by the height and
    II width may be filtered.
    optional int32 imagewidth = 7;
    optional int32 image_height = 8;
    optional int32 logo_width = 9;
    optional int32 logoheight = 10;
    optional int32 app_icon_width = 11;
    optional int32 app_icon_height = 12;

    II Globally distinct id for the specific style, HTML, and CSS with which
    II the native ad is rendered.
    optional int32 style_id = 16;

    II Type of style layout for each native ad template.
    enum LayoutType {
       PIXEL   0;
       FLUID = l;
    }
    optional LayoutType style_layout_type = 17 [default= PIXEL];

    I I If the style layout type is Pixel, width and height of the
    II entire native ad after rendering. If the style_layout_type is
    II Fluid, the style_height and style_width may optionally
    II not be populated.


                                                                                             GOOG-HEWT-00001349
    optional int32 style_height = 18;
              Casestyle_width
    optional int32   4:21-cv-02155-YGR
                               = 19;                Document 93-2         Filed 10/01/21   Page 17 of 27
}
repeated NativeAdTemplate native_ad _template= 51;

// NativePlacementType describes placement of native ad slot with respect to
// surrounding context.
enum NativePlacementType {
   PLACEMENT UNKNOWN = 0;
   // In the feed of content - for example as an item inside the organic
   // feed/grid/listing/carousel.
   PLACEMENT IN FEED= l;
   // In the atomic unit of the content   i.e., in the article page or single
   // image page.
   PLACEMENT ATOMIC UNIT= 2;
   // Outside the core content - for example in the ads section on the right
   // rail, as a banner-style placement near the content, etc.
   PLACEMENT OUTSIDE= 3;
   // Recommendation widget, most commonly presented below the article
   // content.
   PLACEMENT RECOMMENDATION= 4;
}

optional NativePlacementType native _placementtype       45
    [default= PLACEMENT_UNKNOWN];

// Whether the ad request has been determined to come directly from the
// publisher.
enum MediationStatus {
   UNKNOWN= 0;
   DIRECT_REQUEST = l;
}
optional MediationStatus mediation status       52 [default   UNKNOWN];

// Auto refresh settings.
message AutoRefresh {
  message AutoRefreshSettings {
    enum AutoRefreshType {
       UNKNOWN_AUTO_REFRESH_TYPE = 0;
       USER ACTION= l; // Refresh triggered by user-initiated action such
                         // as scrolling.
       EVENT= 2; // Event-driven content change. For example, ads refresh
                  // when the football game score changes on the page.
      TIME= 3;    // Time-based refresh. Ads refresh on a predefined time
                  // interval even without user activity.
        }
        // The type of the declared auto refresh.
        optional AutoRefreshType refresh_type = l
            [default= UNKNOWN_AUTO_REFRESH_TYPE];

        // The minimum refresh interval. This applies to all refresh types.
        optional int32 min refresh interval seconds= 2;
    }

    // The auto-refresh settings that the publisher has on this
    // inventory. This is repeated because publishers may
    // do multiple types of auto refresh on one piece of inventory.
    repeated AutoRefreshSettings refresh_settings = l;

    // The number of times this ad slot had been refreshed since last page
    // load.
    optional int32 refresh_count = 2 [default= 0];
}
optional AutoRefresh auto_refresh = 23;

// Stickiness settings declared by the publisher.
// Next Tag: 4
message StickySettings {
  // Specifies the allowable sticky settings values.
  enum Stickiness {
    UNKNOWN STICKINESS= 0;
     IS STICKY = 1;
    }

    // Whether the request originated from an ad slot that scrolls along with
    // the contents of the page vertically.
    optional Stickiness vertical_stickiness   l
        [default= UNKNOWN_STICKINESS];

    // Whether the request originated from an ad slot that scrolls along with
    // the contents of the page horizontally, and is located at the top of the
    // page.
    optional Stickiness tophorizontalstickiness = 2


                                                                                                GOOG-HEWT-00001350
        [default= UNKNOWN_STICKINESS];
              Case 4:21-cv-02155-YGR              Document 93-2         Filed 10/01/21   Page 18 of 27
    // Whether the request originated from an ad slot that scrolls along with
    // the contents of the page horizontally, and is located at the bottom of
    // the page.
    optional Stickiness bottom_horizontal_stickiness = 3
        [default= UNKNOWN_STICKINESS];
}
optional StickySettings sticky_settings     31;

// Sources for non-browser inventory.
enum NonBrowserSource {
   UNDECLARED SOURCE= 0;
   DESKTOPAPP = l;
}
// Publisher declaration stating that this ad slot may serve on
// non-browser inventory, like desktop apps.
optional NonBrowserSource non_browser_slot_source = 34
    [default= UNDECLARED_SOURCE];

// Defines who controls the environment that made the ad request and will
// render the ad. On platforms where code written by Google will handle
// the ad this field is set to GOOGLE. When this field is PUBLISHER the
// publisher has placed their own code on the device to handle playback of
// the ad. There is no technical difference in how these request are
// handled. You may use this field to differentiate between different
// environments for non-technical reasons. This field is only set for
// requests that allow VAST video ads.
enum Renderer {
   UNKNOWN RENDERER= 0;
   GOOGLE = 1;
   PUBLISHER = 2;
}
optional Renderer renderer= 26 [default= UNKNOWN_RENDERER];

// Whether this request is for an Accelerated Mobile Page (AMP). AMP HTML
// pages load faster, by restricting parts of HTML, CSS and Javascript. For
// more information on how AMP ads render, refer to the AMP ads README:
// https://github.com/ampproject/amphtml/blob/master/ads/README.md
enum AmpAdRequestType {
   // AMP status unknown. Request may or may not be from an AMP page.
   UNKNOWN AMP= 0;

    // Not an AMP page. Could be regular HTML, VAST video, etc.
    NON_AMP_PAGE = l;

    // Late-loading request from an AMP HTML page. Ad will render with a
    // slight delay so it will not negatively impact page render performance.
    AMP_PAGE_LATE_REQUEST = 2;
}
optional AmpAdRequestType amp_ad_request_type      29 [default    NON_AMP PAGE];

// Whether this is an AMP page or not.
enum AmpPage {
   // AMP page status unknown.
   UNKNOWN_AMP_PAGE = 0;
   // This is not an AMP page.
   DIALECT_HTML = 1;
   // This is an Amp page.
   DIALECT HTML AMP = 2;
}
optional AmpPage is_amp _page= 38;

// Possible requirement types for AMP ads.
enum AmpAdRequirementType {
   // AMP ad requirements unknown.
   UNKNOWN AMP AD REQUIREMENT TYPE    0;
   // AMP ads are not allowed.
  AMP AD NOT_ALLOWED = 1;
   // Either AMP ads or non-AMP ads are allowed;
   // AMP ads are not early rendered.
  AMP AD ALLOWED_AND_NOT_EARLY_RENDERED = 2;
   // Either AMP ads or non-AMP ads are allowed;
   // AMP ads are early rendered.
  AMP ADALLOWEDAND EARLY RENDERED = 3;
   // AMP ads are required.
   // Ads that are non-AMP may be rejected by the publisher.
  AMPADREQUIRED = 4;
}
optional AmpAdRequirementType amp_ad_requirement_type = 39;

// Whether the user receives a reward for viewing the ad. For video ads,
// typical implementations allow users to read an additional news article


                                                                                              GOOG-HEWT-00001351
      II for free, receive an extra life in a game, or get a sponsored ad-free
                   CaseThe
      II music session.  4:21-cv-02155-YGR           Document 93-2 Filed 10/01/21
                            reward is typically distributed after the video ad is
                                                                                                         Page 19 of 27
      I I completed.
      optional bool is_rewarded = 32 [default= false];

      II Possible ad types that are allowed in the bid response. allowed_ad_types
      II always contains one or more values. Interstitial slots may also support
      II banner ads. An ad slot with ALLOWED_AD_TYPE_NATIVE may or may not support
      I I native video, reg a rd less of whether ALLOWEDADTYPEVIDEO is set.
      II Likewise, an ad slot without ALLOWED_AD_TYPE_NATIVE does not support
      II native video, regardless of whether ALLOWED AD TYPE VIDEO is set.
      enum AllowedAdType {
         UNKNOWN ALLOWED AD TYPE= -1;
        ALLOWEDADTYPEBANNER = 0;
        ALLOWED_AD_TYPE_NATIVE = l;
        ALLOWED AD TYPE VIDEO   2;
        ALLOWED AD TYPE_AUDIO = 3;
      }
      repeated AllowedAdType allowed_ad_types = 36 [packed= true];

      II Total number of impressions served to this user (within this specific
      II site or app) in this browsing session, plus 1. A session ends after 30
      II minutes inactivity. The default value of -1 indicates that the session
      II depth cannot be estimated.
      optional int32 session_depth = 40 [default= -1];

      II Data, opaque to Google and to the publisher, generated by the buyer
      II within the publisher's mobile application.
      message BuyerGeneratedRequestData {
        II Identification for the source of the buyer generated request data when
        II that source is from within an application.
        message SourceApp {
          II Identifier for the SDK that generated this data. It will match the id
          II in mobile.installed_sdk.id.
          optional string id= 1;
          }
          II The source of the data.
          oneof source {
            SourceApp source_app = l;
          }

          II Data sent from the buyer's source within the publisher's domain to the
          II bidder. This data is opaque to the publisher and to Google.
          optional string data= 2;
      }
      repeated BuyerGeneratedRequestData buyer_generated_request_data = 41;

      II For ads rendered using a custom SDK only: multiplier applied to bid in
      II the auction. The adjustment reflects the likelihood that your bid would
      II generate a billable event (i.e. the ad renders successfully) if it won
      II the auction, relative to the probability that other bids generate a
      II billable event if they won the auction. This adjustment can be larger or
      II smaller than 1. This affects the final ranking in the auction only; in
      II particular, this multiplier does not affect the payment.
      optional double bi llableevent rate adjustment = 59 [default = 1. 0];

      II Identifier of the OM SDK integration. For more info, see the OpenRTB
      II Advisory for Open Measurement SDK:
      II https:llgithub.comlinteractiveAdvertisingBureaulAdCOMlbloblmasterlOpenRTB%20support%20for%20OMSDK.md#openrtb-and-
adcom.
    optional string omidpn = 56;

      II Version of the OM SDK integration. For more info, see the OpenRTB
      II Advisory for Open Measurement SDK:
    I I https: I lgi thub. comlinte ractiveAdvertisingBu reaul AdCOMlbloblmaste rlOpenRT8 9o20suppo rt%20for 9o20OMSDK. md#open rtb-and-
adcom.
    optional string omidpv = 57;
  }
  repeated AdSlot adslot = 14;

  II Feedback on bids submitted in previous responses. This is only set if
  II real-time feedback is enabled for your bidder. Please contact your account
  II manager if you wish to enable real-time feedback.
  II
  message BidResponseFeedback {
     II The unique id from BidRequest.id
     optional bytes request_id = 1;

      II The index of the BidResponse Ad if there was more than one. The index
      II starts at zero for the first creative.
      optional int32 creative_index = 2;

      II The status code for the ad. See creative-status-codes.txt in the


                                                                                                                 GOOG-HEWT-00001352
    II technical documentation for a list of ids.
                Case
    optional int32     4:21-cv-02155-YGR
                   creative_status_code = 3;                 Document 93-2              Filed 10/01/21   Page 20 of 27

    II Experimental feature; may be subject to change. See
    II https:llgithub.comlgooglelads-privacyltreelmasterlexperimentslturtledove-simulation
    II and https:lldevelopers.google.comlauthorized-buyerslrtblturtledove
    II for more information about the TURTLEDOVE simulation for RTB.
    II
    II This is the bid price CPM specified by the bidder in the bid response or
    II computed by a bidding function in the TURTLEDOVE simulation expressed in
    II micros of the bidding currency. The bidding currency is determined by:
    II 1. The bidder-level currency, if configured.
    II 2. Otherwise, the currency of the buyer account indicated by the
    II billing ID in the billing_id field.
    II 3. If billing_id is empty, the currency of the buyer account indicated
    II by the sole billing ID in the bid request.
    optional int64 bid_cpm_micros = 11;

    II If the bid won the auction, this is the price paid in your account
    II currency. If the bid participated in the auction but was out-bid, this
    II is the CPM that should have been exceeded in order to win. This is not
    II set if the bid was filtered prior to the auction, if the publisher or
    II winning bidder has opted out of price feedback or if your account has
    II opted out of sharing winning prices with other bidders. For first-price
    II auctions, minimum_bid_to_win is populated instead of this field.
    optional int64 cpm_micros = 4;

    II The minimum bid value necessary to have won the auction, in micros of
    II your account currency. If your bid won the auction, this is the second
    II highest bid that was not filtered (including the floor price). If your
    II bid did not win the auction, this is the winning candidate's bid. This
    II field will only be populated if your bid participated in a first-price
    II auction, and will not be populated if your bid was filtered prior to the
    II auction.
    optional int64 minimum_bid_to_win = 7;

    II When a publisher uses an RTB auction and waterfall-based SDK mediation on
    II the same query, the winner of the real-time auction must also compete in
    II a mediation waterfall (which is ordered by price) to win the impression.
    II If the bid participated in the auction and there was no waterfall, the
    II value of this field is 0. If the bid participated in the auction and
    II there was a waterfall, the value of this field is a price representing a
    II sample bid from the eligible mediation networks that were higher than the
    II auction winner, weighted by expected fill rate. This field can be used
    II in conjunction with minimum_bid_to_win to train bidding models. The CPM
    II is in micros of your account currency.
    optional int64 sampled ___ mediation_ cpm ___ahead of __ auction ___winne r = 10;

    II Event notification token that was included in the bid response.
    optional bytes event_notification token= 5;

    II Buyer creative ID that was included in the bid response.
    optional string buyer_creative_id = 6;
}
repeated BidResponseFeedback bid_response_feedback = 44;

II How many milliseconds Google will wait for a response before ignoring it.
optional int32 response_deadline_ms = 57;

I I -----------------------------------------------------------
II Testing flags.
II If true, then this is a test request. Results will not be displayed to
II users and you will not be billed for a response even if it wins the
II auction. You should still do regular processing since the request may be
II used to evaluate latencies or for other testing. During your initial
II testing with Google traffic any response that you make will be filtered
II out of the auction whether this flag has a value of true or false.
optional bool is_test = 15 [default= false];

II If true, then this request is intended to measure network latency. Please
II return an empty BidResponse with only processing_time_ms set as quickly as
II possible without executing any bidding logic.
optional bool is_ping = 17 [default= false];

II If true, then the callout model predicted that you will not bid
II on this request. We send a sampled percentage of such requests so that we
II can automatically update the model when bidding patterns change.
optional bool is_predicted_to_be_ignored = 45 [default= false];

II SupplyChain object. For more information, see
II https:llgithub.comlinteractiveAdvertisingBureaulopenrtblbloblmasterlsupplychainobject.md.
message SupplyChain {


                                                                                                              GOOG-HEWT-00001353
        II Flag indicating whether the chain contains all nodes involved in the
                     Case
        II transaction     4:21-cv-02155-YGR Document 93-2 Filed 10/01/21
                       leading back to the owner of the site, app or other medium of
                                                                                         Page 21 of 27
        II the inventory.
        optional bool complete= l;

        message SupplyChainNode {
          II The canonical domain name of the SSP, Exchange, Header Wrapper, etc
          II system that bidders connect to. This may be the operational domain of
          II the system, if that is different than the parent corporate domain, to
          II facilitate WHOIS and reverse IP lookups to establish clear ownership of
          II the delegate system. This should be the same value as used to identify
          II sellers in an ads.txt file if one exists.
          optional string advertising_system_identifier = l;

            II The identifier associated with the seller or reseller account within
            II the advertising system. This must contain the same value used in
            II transactions, i.e. "publisher_id" in Google protocol. Should be
            II limited to 64 characters in length.
            optional string seller_identifier = 2;

            II Indicates whether this node will be involved in the flow of payment for
            II the inventory. When set to true, the advertising system in the
            II advertising_system_identifier field pays the seller in the
            II selleridentifier field, who is responsible for paying the previous
            II node in the chain. When set to false, this node is not involved in the
            II flow of payment for the inventory.
            optional bool handles_payment = 6;
        }

        II Array of SupplyChainNode objects in the order of the chain. In a complete
        II supply chain, the first node represents the initial advertising system
        II and seller ID involved in the transaction, i.e. the owner of the site,
        II app, or other medium. In an incomplete supply chain, it represents the
        I I first known node. The last node rep resents the entity sending this bid
        I I request.
        repeated SupplyChainNode nodes= 2;

        II Version of the supply chain specification in use, in the format of
        II a€~major.minora€. For example, for version 1.0 of the spec, use the string
        I I a€~1. 0a€.
        optional string version= 3;
    }

    optional SupplyChain supply chain       69;

}

II This is the message that you return in response to a BidRequest. You may
II specify zero or more ads. For each ad, you should provide an ad slot on
II which the ad can run. An ad slot is identified by the AdSlot.id from the
II BidRequest. If you do not wish to bid, submit a response with no ads and
II with only the processing_time ms set.
II
message BidResponse {
  message Ad {
    II The event notification token is sent to AdX by bidders for
    II troubleshooting. AdX will include the token in real-time feedback for the
    II bid. The content of the token will not be logged by AdX. AdX will ignore
    II any token longer than 64 bytes.
    optional bytes event_notification_token = 25;

        II A unique identifier chosen by you for the creative in this response.
        II This must always be set, must be limited to at most 64 bytes, and must be
        II a valid UTF8 string. Every buyer_creative_id you use must always be
        II associated with the same creative. This field is used to communicate
        II approval statuses when issues are found. Do not specify the same id for
        II different creatives, or all creatives will be disapproved if a problem
        II with a single creative is found. Do not specify different ids for the
        II same creative in different responses or no creatives will be served since
        II approval status is assigned on a per-id basis.
        optional string buyer_creative_id = 10;

        II Only one of the following should be set:
        II 1) html_snippet, 2) video_url, 3) native ad, or 4) sdk_rendered_ad.
        II The HTML snippet that will be placed on the web page to display the ad.
        II Please use BidResponse.Ad.AdSlot.billing_id to indicate which billing id
        II this snippet is attributed to.
        optional string html_snippet = 1;

        II The URL to fetch a video ad. The URL should return an XML response that
        II conforms to the VAST 2.0 or 3.0 standard. Please use
        II BidResponse.Ad.AdSlot.billing_id to indicate which billing id to

                                                                                              GOOG-HEWT-00001354
// attribute this ad to. Only one of the following should be set:
             Case
// html_snippet,   4:21-cv-02155-YGR
                 video_url. Only set this fieldDocument    93-2 is Filed
                                                if the BidRequest  for an 10/01/21   Page 22 of 27
// in-video ad (BidRequest.video is present).
optional string videourl = 9;

// The VAST document to be returned. This document should conform to the
// VAST 2.0 or 3.0 standard. Please use BidResponse.Ad.AdSlot.billing_id to
// indicate which billing ID to attribute this ad to.
// Only set this field if the BidRequest is for an in-video ad and the
// response is VAST XML.
optional string video_vast_xml = 24;

// The URL to fetch an AMPHTML ad. Only one of the following should be set:
// html_snippet, video_url, amp_ad_url, native ad.
optional string amp_ad_url = 23;

// The content of a native ad. Native ads consist of multiple building
// blocks, which are rendered by the publisher. Only one of the following
I I should be set: htmlsnippet, video u rl, or native ad.
// Only set this field if the BidRequest is for a native ad
// (BidRequest.adslot.native is present).
II
message NativeAd {
   // A short title for the ad.
   optional string headline= 1;

  //Along description of the ad.
  optional string body= 2;

  // A label for the button that the user is supposed to click
  optional string call_to_action   3;

  // The name of the advertiser or sponsor, to be displayed in the ad
  // creative.
  optional string advertiser= 4;

  message Image {
   optional string url = 1;

      // Image width and height are specified in pixels. You may provide a
      // larger image than was requested, so long as the aspect ratio is
      // preserved.
      optional int32 width= 2;
      optional int32 height= 3;
  }

  // A large image.
  optional Image image= 5;

  // A smaller image, for the advertiser's logo.
  optional Image logo= 6;

  // The app icon, for app download ads.
  optional Image app_icon = 7;

  // The URL to fetch a video ad. The URL should return an XML response that
  // conforms to VAST standards. Only set this field if the video field is
  I I requested.
  optional string video_url = 13;

  // The app rating in the app store. Must be in the range [0-5].
  optional double star _rating= 8;

  // The URL that the browser/SOK will load when the user clicks the ad.
  // This can be the landing page directly, or the first step of a redirect
  // chain that eventually leads to it. For backward compatibility, if this
  // is not set, the first Ad.click_through_ url is used.
  optional string click_link_url = 14;

  // The URL to use for click tracking. The SDK pings click tracking url on
  // a background thread. When resolving the url, HTTP 30x redirects are
  // followed. The SDK ignores the contents of the response; this URL
  // has no effect on the landing page for the user.
  // This field is planned to be deprecated and we are moving to the
  // repeated clicktrackingurls field.
  optional string click_tracking_url = 11;

  // The URLs to use for click tracking. This will be used throughout the
  // serving stack and will incorporate any URL in click_tracking_url.
  repeated string click_tracking_urls = 15;

  // The price of the promoted app including the currency info.
  optional string price= 10;


                                                                                          GOOG-HEWT-00001355
}
            Casenative_ad
optional NativeAd 4:21-cv-02155-YGR
                          = 18;                 Document 93-2         Filed 10/01/21   Page 23 of 27

II The set of destination URLs for the snippet. This includes the URLs that
II the user will go to if they click on the displayed ad, and any URLs that
II are visible in the rendered ad. Do not include intermediate calls to the
II adserver that are unrelated to the inal landing page. A BidResponse that
II returns a snippet or video ad but declares no click_through_url will be
II discarded. Only set this field if html_snippet or video_url or native_ad
II are set. This data is used as a destination URL declaration, for example
II for post-filtering of publisher-blocked URLs or ad categorization.
II
II For non-native ads, it is not used for click tracking or any
II other ad functionality; it is only used as a destination URL
I I declaration.
II
II For native ads, if NativeAd.click_link_url is not set, the first
II value of click_through_url is used to direct the user to the landing
II page. In addition, all values are used as destination
II URL declarations (similar to the non-native case).
repeated string click_through_url = 4;

II All vendor types for the ads that may be shown from this snippet. You
II should only declare vendor ids listed in the vendors.txt file in the
II technical documentation. We will check to ensure that the vendors you
II declare are in the allowed_vendor_type list sent in the BidRequest for
II AdX publishers.
repeated int32 vendor_type = 5;

II All attributes for the ads that may be shown from this snippet. See
II buyer-declarable-creative-attributes.txt in the technical documentation
II for a list of ids. We will check to ensure none of these attributes are
II in the excluded attribute list in the BidRequest.
repeated int32 attribute= 6;

II All sensitive categories for the ads that may be shown from this snippet.
II See ad-sensitive-categories.txt in the technical documentation for a list
II of ids. We will check to ensure none of these categories were in the
II excluded_sensitive_category list in the BidRequest.
repeated int32 category= 7;

II All restricted categories for the ads that may be shown from this
II snippet. See ad-restricted-categories.txt in the technical documentation
II for a list of ids. We will check to ensure these categories were listed
II in the allowed_restricted_category list in the BidRequest. If you are
II bidding with ads in restricted categories you MUST ALWAYS declare them
I I he re.
repeated int32 restricted_category = 17;

II All names of the ad's advertisers.
repeated string advertiser name= 11;

II This field is deprecated due to being unused.
II For exchange bidders (third party exchanges doing real-time bidding on
II DFP), the name of the bidder that the exchange called to provide the ad.
II This is arbitrary UTF8 text but should be sufficient to identify the
II bidder and should be set consistently to the same value for the same
I I bidder.
optional string DEPRECATED_bidder_name = 22 [deprecated= true];

II The width and the height in pixels of the ad. Setting these is optional.
II However, these must be set if the bid BidRequest.AdSlot has more than one
II width and height or if BidRequest.Mobile.is_interstitial_request is true.
optional int32 width= 14;
optional int32 height= 15;

II The Agency associated with this ad. See agencies.txt file in the
II technical documentation for a list of ids. If this ad has no associated
II agency then the value NONE (agency_id: 1) should be used rather than
II leaving this field unset.
optional int64 agency_id = 16;

message AdSlot {
 II The slot id from the BidRequest that the ad may appear in.
  required int32 id= 1;

    II The maximum CPM you want to be charged if you win the auction for this
    II ad slot, expressed in micros of the bidding currency. For example, to
    II bid a CPM of 1.29 USD, set max_cpm_micros = 1290000. Winning bids are
    II rounded up to billable units. For example, in USD, bids are rounded up
    II to the next multiple of 10,000 micros (one cent).
    II The bidding currency is determined by:
    II 1. The bidder-level currency, if configured.

                                                                                            GOOG-HEWT-00001356
II 2. Otherwise, the currency of the buyer account indicated by the
II billing Case  4:21-cv-02155-YGR Document 93-2 Filed 10/01/21
           ID in the billing_id field.
                                                                                     Page 24 of 27
II 3. If billing_id is empty, the currency of the buyer account indicated
II by the sole billing ID in the bid request.
required int64 max_cpm_micros = 2;

II The minimum CPM you want to be charged if you win the auction for this
II ad slot, expressed in micros of the bidding currency. This may
II represent a second price if you choose max_cpm as the highest of
II several bids, or some form of reserve price if you wish to override the
II reserve price set by the publisher. The bid must be less than or equal
II to max_cpm_micros or it will be ignored. This field is optional and
II does not need to be set. This field is not applicable when responding
I I to bid requests with auction type set to FIRST PRICE. The bidding
II currency is determined by:
II 1. The bidder-level currency, if configured.
II 2. Otherwise, the currency of the buyer account indicated by the
II billing ID in the billing_id field.
II 3. If billing_id is empty, the currency of the buyer account indicated
II by the sole billing ID in the bid request.
optional int64 min_cpm_micros = 3;

II Billing id to attribute this impression to. The value must be in the
II set of billing ids for this slot that were sent in the
II BidRequest.AdSlot.matching_ad_data.billing_id. This must always be set
II if the BidRequest has more than one
II BidRequest.AdSlot.matching_ad_data.billing_id or if the bidder has
II active child seats.
optional int64 billing_id = 4;

II The deal id that you want this bid to participate in. Leave unset
I I or set it to "l" if a deal is available but you want to
II ignore the deal and participate in the open auction.
optional int64 deal_id = 5 [default= 0];

II For exchange bidders (third party exchanges doing real-time bidding on
II DFP), the deal id from the exchange's namespace that is associated with
II this bid and reported to publishers. Leave unset if there is no
II associated deal. This is arbitrary UTF8 text and must be at most 64
II bytes.
optional string exchange_deal_id = 6;

II When exchange_deal_id is set, the type of deal. This is reported to
II publishers and affects how the deal is treated in the auction.
enum ExchangeDealType {
  OPEN_AUCTION = 0;
   PRIVATEAUCTION = 1;
   PREFERRED_DEAL = 2;
   EXCHANGE_AUCTION_PACKAGE = 3;
}
optional ExchangeDealType exchange_deal_type = 7 [default= OPEN_AUCTION];

II Buyer declared ID which will be used to break down spend and invalid
II traffic metrics in IVT transparency reporting in Query Tool. Note that
II IDs with fewer than 1000 impressions will not be used to break down
II metrics. IDs longer than 64 bytes will be ignored.
optional string buyer reportingid = 8;

II Token used to identify end third party buyer information if an
II exchange as an open bidder is an intermediary. This is obtained from
II the third party buyer and must be passed to Google unaltered in the bid
I I response.
optional string third_party_buyer token= 12;

II Experimental feature; may be subject to change. See
II https:llgithub.comlgooglelads-privacyltreelmasterlexperimentslfrequency-capping
II for more information about the experiment on exchange-enforced
II frequency capping.
II
II Specifies frequency capping to be applied to the bid. Impressions for
II each user are capped at the level specified by frequency_cap_id. A bid
II will not participate in the auction if an additional impression for the
II user would violate any of the specified caps. Multiple frequency caps
II can be specified for the same frequency_cap_id.
II
II A bid is filtered before the auction if the frequency cap is malformed.
II Instances where the cap is malformed include:
II    frequency __ cap ___ id is empty or is very long
II    max_mpressions or time_range are non-positive
II    there are a large number of frequency caps for a single bid
II    time unit is not specified
II
II Note that if a subsequent bid with the same frequency_cap ___ id uses a

                                                                                          GOOG-HEWT-00001357
    I I different du ration (represented by time unit and time range) then
               Casecounted
    II impressions     4:21-cv-02155-YGR           Document 93-2 Filed 10/01/21
                             against the old frequency cap will not count
                                                                                             Page 25 of 27
    II against the new one and vice versa.
    II
    II To enable frequency capping for your account, please contact your
    II account manager.
    message FrequencyCap {
      II An ID that can represent a bidder's use-case for frequency capping;
      II for example, it could represent their campaign, ad, line item, etc.
      II It should not contain any user-specific information or identifiers.
     optional string frequency_cap_id = l;

        II The time units for which frequency caps can be enforced.
        enum TimeUnit {
           UNKNOWN TIME UNIT= 0;
          MINUTE = l;
           DAY= 2;
          WEEK= 3;
          MONTH = 4;
           II When INDEFINITE is used, time_range will be ignored. INDEFINITE
           II means the frequency cap will be applied for a long period of time,
           II (longer than a month) but not necessarily forever.
           INDEFINITE = 5;
        }

        II The unit of time used to specify the time window for which a
        II frequency cap applies.
        optional TimeUnit time_unit = 2;

        II The length of the time window, in units specified by time_unit, for
        II which the frequency cap applies. For instance, if time unit=WEEK and
        II timerange=3, then capping is applied for a three week period. If the
        II time_unit=INDEFINITE, this will be ignored.
        optional int32 time_range = 3 [default= 1];

        II The maximum number of impressions allowed to be shown to a user for
        I I the provided frequencycapid within the time window described by
        II time_unit and time_range.
        optional int32 max_impressions = 4;
    }
    repeated FrequencyCap frequency_cap = 16;

    II Experimental feature; may be subject to change. See
    II https:llgithub.comlgooglelads-privacyltreelmasterlexperimentslturtledove-simulation
    II and https:lldevelopers.google.comlauthorized-buyerslrtblturtledove
    II for more information about the TURTLEDOVE simulation for RTB.
    II
    II Bidding function name that the bidder selected for the TURTLEDOVE
    II simulation. The name refers to the bidding function
    II that is provided ahead of time via Bidding functions API resource.
    II Bid value will be computed by the bidding function; value provided via
    II max___ cpm_micros will be ignored.
    optional string bidding_function_name = 17;

    II Experimental feature; may be subject to change. See
    II https:llgithub.comlgooglelads-privacyltreelmasterlexperimentslturtledove-simulation
    II and https:lldevelopers.google.comlauthorized-buyerslrtblturtledove
    II for more information about the TURTLEDOVE simulation for RTB.
    II
    II Contains TURTLEDOVE interest group-related data that will be passed
    II to the bidding function
    optional .google.protobuf.Value interest_group_data = 18;
}
repeated AdSlot adslot = 3;

II The URLs to call when the impression is rendered. This is supported for
II all inventory types and all formats except for VAST video.
repeated string impression_tracking_url = 19;

II Link to ad preferences page. This is only supported for native ads.
II If present, a standard AdChoices icon is added to the native creative and
II linked to this URL.
optional string ad_choices_destination_url = 21;

message ImpressionTrackingResource {
  II The URL of a Javascript resource. The URLs should not contain script
  II tags. For example: "https:llmycdn.comltracker.js".
  optional string script_url = 1;

    II Additional context provided for rendering.
    enum Context {
      UNKNOWN CONTEXT= 0;



                                                                                                  GOOG-HEWT-00001358
            II Currently not supported.
                    Case 4:21-cv-02155-YGR
            OMID = l;
                                                       Document 93-2       Filed 10/01/21   Page 26 of 27
        }
        repeated Context context= 2;

        II Parameters associated with the resource that will be passed to the
        II resource when it is loaded. The format of the parameters is dependent
        II on the script vendor.
        optional string verification_parameters = 3;

        II Used to uniquely identify the verification script provider.
        optional string vendor_key = 4;
    }
    II Resources to invoke when the impression is rendered. This is supported
    II for native and banner formats only and explicitly whitelisted scripts
    II only.
    repeated ImpressionTrackingResource impression_tracking_resource = 26;
    II An ad that will be rendered by an SDK known to the buyer. This can only
    II be used when the BidRequest included a mobile.installed_sdk submessage.
    message SdkRenderedAd {
      II The identifier for the SDK that will render the ad. Must match a
      II mobile.installed_sdk.id sent in the corresponding bid request.
      optional string id= l;

        II Data to pass to the SDK in order to render the ad. This data is opaque
        II to the publisher and to Google.
        optional string rendering_data = 2;
    }
    optional SdkRenderedAd sdk_rendered_ad = 27;

    II Advertiser's SKAdNetwork information to support app installation
    II attribution for iOS 14 and later. Apple's SKAdNetwork API helps
    II advertisers measure ad-driven app installation by sending a postback
    II to the ad network after a successful install. Ad networks will need
    II to send their network ID and signed advertiser information to allow
    II an install to be attributed to the ad impression.
    II For more info visit:
    II https:lldeveloper.apple.comldocumentationlstorekitlskadnetwork
    message SKAdNetworkResponse {
      II Version of SKAdNetwork supported by the advertiser. Also used to
      II specify how the signature was generated by the advertiser. This
      II should match the version from BidRequest.mobile.skad.version.
      optional string version= l;

        II Ad network identifier used in signature. This should match one of the
        II items in BidRequest.mobile.skad.skadnetids.
        optional string network= 2;

        II Campaign ID compatible with Apple's spec.
        optional int64 campaign= 3;

        II ID of advertiser's app in Apple's app store.
        optional string itunesitem = 4;

        II A unique all-lowercase UUID generated by the advertiser to use for
        II generating the signature.
        optional string nonce= 5;

        II ID of publisher's app in Apple's app store. This should match the ID
        II from BidRequest.mobile.skad.sourceapp.
        optional string sourceapp = 6;

        II Unix time in millis used at the time of signature generation.
        optional int64 timestamp = 7;

        II SKAdNetwork signature as specified by Apple.
        optional string signature= 8;
    }

    optional SKAdNetworkResponse skadn        29;

}
repeated Ad ad= 2;

II If is test was set in the BidRequest, then you may return debug information
II as plain text in this field. Please do not set this field under normal
II conditions, or set it to values longer than 100 characters. You should only
II use this field when asked to do so as part of troubleshooting particular
II problems.
optional string debug _string= 5;

II Please set this to the processing time in milliseconds from when you
II received the request to when you returned the response.

                                                                                                 GOOG-HEWT-00001359
    optional int32 processing _time ___ms = 4;
                   Case 4:21-cv-02155-YGR           Document 93-2         Filed 10/01/21     Page 27 of 27
    II An optional, bidder-specified reason for not submitting a bid. This field
    II is equivalent to BidResponse.nbr in the OpenRTB protocol and uses the same
    II namespace of no-bid reason codes. See
    II https:lldevelopers.google.comlauthorized-buyerslrtbldownloadslno-bid-reasons.txt
    II for the full set of no-bid reason codes.
    optional int32 no_bid_reason = 6;

    II Experimental feature; may be subject to change. See
    II https:llgithub.comlgooglelads-privacyltreelmasterlexperimentslturtledove-simulation
    II and https:lldevelopers.google.comlauthorized-buyerslrtblturtledove
    II for more information about the TURTLEDOVE simulation for RTB.
    II
    II Contains contextual signals that will be passed to the bidding function
    II for the TURTLEDOVE simulation.
    optional .google.protobuf.Value contextual_signal = 7;
}




                                                                                                  GOOG-HEWT-00001360
